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 March 21, 2025


 MEMORANDUM FOR:              Jake Pannell
                              Business Representative
                              National Federation of Federal Employees

 FROM:                        Madiha D. Latif
                              Deputy Under Secretary
                              Minority Business Development Agency


 SUBJECT:                     Notification of Reduction in Force of the Minority Business
                              Development Agency


 In accordance with the March 13, 2025, Executive Order, “Continuing the Reduction of the Federal
 Bureaucracy,” and in compliance with the 2022 Collective Bargaining Agreement, this
 memorandum serves as an official notification that the Department of Commerce will be
 implementing a Reduction in Force (RIF) of the Minority Business Development Agency
 (MBDA). Affected MBDA employees will be placed in a paid non-duty status today while the
 Department complies with the regulations set forth in 5 C.F.R. Part 531.

 To the extent NFFE would like to engage in impact and implementation bargaining regarding this
 notification, please submit negotiable proposals to Nick Lorden, Human Resources Specialist,
 Office of Workforce Relations, no later than March 31, 2025. Failure to submit negotiable
 proposals or an election not to reply within the designated timeframe will constitute a formal
 waiver. Requests to negotiate and any subsequent agreement reached will undergo Agency Head
 Review in accordance with the provisions of 5 U.S.C. § 7114(c).




 Cc:
 Angela Washington – Co Shop Steward
 Julius Mania – Co Shop Steward
 Mayra Medrano – Secretary
 Gabriel Cushing – Officer Trainee
